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8                           IN THE UNITED STATES DISTRICT COURT

9                             NORTHERN DISTRICT OF CALIFORNIA

10
     ARLINE WEINGER,                                     Case No.: 5:17-cv-05423-BLF
11
                            Plaintiff,                   NOTICE OF SETTLEMENT WITH
12
                                                         DEFENDANT EQUIFAX, INC.
13          v.

14   EQUIFAX, INC., et al.,
15
                            Defendants.
16

17   TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
18          PLEASE TAKE NOTICE THAT plaintiff Arline Weinger and defendant Equifax,
19   Inc., by and through their respective counsel of record, have reached a settlement in principle
20   of the above captioned case and are in the process of documenting said settlement. The Parties
21   believe the settlement will be finalized within sixty (60) days and will request dismissal of
22   Equifax, Inc. from this action upon finalization.
23

24                                                          Sagaria Law, P.C.
25

26
     Dated: March 29, 2018                         By:      /s/ Elliot Gale
                                                            Elliot Gale
27                                                          Attorneys for Plaintiff
28   //


                       NOTICE OF SETTLEMENT WITH DEFENDANT EQUIFAX, INC. -1-
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                                                           Nokes & Quinn, APC
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2    Dated: March 29, 2018                         By:     /s/ Thomas P. Quinn, Jr.
                                                           Thomas P. Quinn, Jr.
3                                                          Attorneys for Defendant
                                                           Equifax, Inc.
4

5

6            I, Elliot Gale, am the ECF user whose identification and password are being used to file

7    this Notice. I hereby attest that Thomas P. Quinn, Jr. has concurred in this filing.
8

9    /s/ Elliot Gale
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                       NOTICE OF SETTLEMENT WITH DEFENDANT EQUIFAX, INC. -2-
